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                UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Case Name: United States of America v. Laura Janke                                                Case No. 2:19-MJ-00982
                                               ■ Defendant
                                               Q                    ~ Material Witness

  Violation of Title and Section: 18USC1962

                                       Summons          ~■ Out of District    ~ Under Seal       ~ Modified Date:

  Check ~o one of the five numbered boxes below (unless one band is to be replaced by another):
  1.   Persona Recognizance Signature On y            (c). ❑ Affidavit of Suret y With 1ustification        Release No.
  2. ~ Unsecured Appearance Bond                             (Form CR-3) Signed by:
                                                                                                                    2
                                                                                                                    JCf ~j O
                                                                                                                 Release to Pretrial ONLY
  3. ~ Appearance Bond                                                                                         ~ Release to Probation ONLY
                                                                                                                 Forthwith Release
       (a). ~ Cash Deposit (Amount or ~o) (Form CR-7)
                                                                        With Full Deeding of Property:

       (b).~ Affidavit of Surety Without
             Justification (For a cx-4) Signed by:
                                                                                                                  All Conditions of Bond
                                                                                                                  (ExceptClearing-Warrants
              ySb(~J~(~                                                                                           Condition) Must be Met
                                                                                                                  and Posted by:
                C,~ i~ ~ L Q~

                                                                                                                  Third-Party Custody
                                                         4.~ Collateral Bond in the Amount of(Cash                Affidavit(Form CR-31)
                                                             or Negotiable Securities):
                                                                $                                              ■ Bail Fixed by Court:
                                                                                                               Q
                                                         5.~ Corporate Surety Bond in the Amount of:           AFM     ~ ~B
                                                              $                                                 (Judge /Clerk's Initials)


                                                        PRECONDITIONS TO RELEASE
       The government has requested a Nebbia hearing under 18 U.S.C. 4 3142(8)(4).
       The Court has ordered a Nebbia hearing under 4 3142 (g)(4).
       The Nebbia hearing is set for                                     at          Q a.m. Q p.m.

                                                 ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
   Submit to: _
              , ^Pretrial Services Agency(PSA)supervision as directed by PSA; ~ Probation(USPO)supervision as directed by USPO.
             (The agency indicated above,PSA or USPO, will be referred to below as "SupervisingAgency.'~

   Surrender all passports and travel documents to Supervising Agency no later than PSA ~C~S ~'j S s pdE~                  , sign a Declaration
   re Passport and Other Travel Documents(Form CR-37), and do not apply for a passport or other travel document during the pendency
   of this case.
   Travel is restricted to    ~l~(..( .~' ~ ~'~j, ~ ~~                                      unless prior permission is granted by Supervising
    Agency to travel to a specific other location. Court permission is required for international travel.
   Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
   Maintain or actively seek employment and provide proof to Supervising Agency.           Employment to be approved by Supervising Agency.
   Maintain or begin an educational program and provide proof to Supervising Agency.                                                    ~
                                                                                 Defendant's Initials:(~1` i        Date: ~ ~ ~ t,
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                                               ■ Defendant
                                               ~                   ~ Material Witness
   ~]Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or

        witness in the subject investigation or prosecution, ~ including but not limited to

                                                             ;~ except
       Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

        of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:


       Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,

        you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your

        own legal or true name without prior permission from Supervising Agency. ~ In order to determine compliance, you agree

        to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

       Do not engage in telemarketing.

       Do not sell, transfer, or give away any asset valued at $                                 or more without notifying and obtaining
        permission from the Court, except
       Do not engage in tax preparation for others.
       Do not use alcohol.
       Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
        requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
        Supervising Agency.
       Do not use or possess illegal drugs or state-authorized marijuana. ~ In order to determine compliance, you agree to
        submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
        designer psychoactive substance capable ofimpairing mental or physical functioning more than minimally, except as
        prescribed by a medical doctor.
       Submit to:     drug and/or Q alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.
       Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency.        Release to PSA only ~ Release to USPO only
       Submit to a mental health evaluation. If directed to do so, participate in mental health counseling andJor treatment approved by
       Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
      Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of Supervising
       Agency, which Owill or Qwill not include a location monitoring bracelet. You must pay all or part of the costs of the program based
       upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
           Location monitoring only - no residential restrictions;
                              -or-

           You are restricted to your residence every day:

                    from                  ❑ a.m. ❑ p.m. to                    ❑ a.m. ❑ p.m.
                    as directed by Supervising Agency;

                              -or-
                                                                                Defendant's Initials    ~('~ X'      Date:   ~Itii~
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                                                    ■ Defendant
                                                    ~                 ~ Material Witness

               You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and

                                                                                         all of which must be preapproved by Supervising Agency;
               Release to PSA only ~ Release to USPO only
          You are placed in the third-party custody(Form CR-31)of
          Clear outstanding ~ warrants or ~ DMV and traffic violations and provide proof to Supervising Agency within                    days
          of release from custody.
          Do not possess or have access to, in the home,the workplace, or any other location, any device that offers Internet access except
          as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
          and/or property by Supervising Agency in conjunction with the U.S. Marshal.
          Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
          the age of 18 except in the presence of a parent or legal guardian of the minor.
          Do not loiter or be found within 100 feet of any schoolyard> park, playground, arcade, or other place primarily used by children
          under the age of 18.
          Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
          facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
          Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
          of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
          Marshal.
         Other conditions:




                                                 GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case maybe transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information,including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  1 will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.

                                                                                     Defendant's Initials: ~ ~~         Date:    ~_y ~~ ~,
CR-1 (02/18)                               CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORIGI                               PAGE 3 OF 4
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                                                     ■ Defendant
                                                     ~                    ~ Material Witness


                                      ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

     As a condition of my release on this bond, pursuant to Title 18 of the United States Code,I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
     fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond,this bond
     may be forfeited to the United States of America. If said forfeiture.is not set aside,judgment may be summarily entered in this
     Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution of the
     judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
     forfeited.
                                                   ,                     ~

                                                 ~~;

                                                                                                                    ,i V        ~   l~E
     Date                                    Signature of~j1          t     ate ial Witness                 Telephone Number




     City and State(DO NOTINCLUDE ZIP CODE)



         Check if interpreter is used: I have interpreted into the                                                   language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                  rV s                       Date



     Approved:                                               ~'-L                                            3 /? Zo/
                               United States PisfrtCT'j~e~elge /Magistrate Judge ~ = e ~ ,'              Date

     If cash deposited: Receipt #                                   for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                      Defendant's Initials: ,I~ ~(     Date:
Cx-i (oz/is)                                CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                    40F4
